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                                   M IDDLE D ISTRICT OF F LORIDA
                                          O CALA D IVISION

UNITED STATES OF AMERICA

-vs-                                                                 Case No. 5:12-cr-42-Oc-22PRL

JULIO CASTILLO-ALVAREZ
__________________________________

                               REPORT AND RECOMMENDATION
                                CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Rule 11,

Fed.R.Cr.P. and Rule 6.01(c)(12), Middle District of Florida Local Rules, and has entered

a plea of guilty to Count One of the Second Superseding Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule

11, I determined that the guilty plea was knowledgeable and voluntary and that the offense

charged is supported by an independent basis in fact containing each of the essential

elements of such offense. I therefore recommend that the plea agreement and the plea

of guilty be accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.           The Defendant is in custody of the U.S. Marshal pending

sentencing.

Date: January 31, 2013




Copies furnished to:

Honorable Anne C. Conway
District Judge Courtroom Deputy
United States Attorney
United States Probation Office
Counsel for Defendant
                                                   NOTICE

        Failure to file written objections to this Report and Recom m endation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recom m endation before
the assigned United States District Judge. 28 U.S.C. Section 636(b)(1)(B), Rule 6.02 Middle District of Florida
Local Rules.
